Case 1:10-cr-00317-REB Document 738-6 Filed 01/30/14 USDC Colorado Page 1 of5

NOTICE OF DISHONOR

Notice Date: Day Twenty-six Month: One Year: 2014 C.E.

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

Clerk of the Court, Room A-105
901 19th Street

Denver, Colorado 80294-3589

PLEASE TAKE NOTICE that instrument "NON-NEGOTIABLE NOTICE OF ACCEPTANCE" dated Day:

Sixteen Month: Nine Year: 2013 C.E. in reply to your Presentment "Case 1:10-cr-00317-
REB Document 368 Filed 11/30/11 USDC Colorado Page 1 of 3 Criminal Case No. 10-CR-00317-REB
GOVERNMENT'S MOTION TO PERMIT FILING OF NOTICE OF SUPPLEMENTAL AUTHORITY CONCERNING
DEFENDANT ARMSTRONG'S MOTION FOR LEAVE TO FILE A MOTION FOR REHEARING FOR PRETRIAL RELEASE
ON BOND PURSUANT TO 8TH AMENDMENT 1, Page 2 of 3 John F. Walsh Kenneth M. Harmon David

L. Owen 2, Page 3 of 3 Richard Kellogg Armstrong Kenneth M. Harmon 3" has been dishonored
or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,
' Richard Kellogg Artistrong a

c/o 20413-298

Federal Correctional Institution
3600 Guard Road

Lompoc, California

cc: UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, 901 19th Street, Denver, Colorado 80294-3589

(ec > UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, Judge Robert E. Blackburn, 901 19th Street,
Denver, Colorado 80294-3589

cc: DEPARTMENT OF JUSTICE, U.S. ATTORNEY'S OFFICE, John F. Walsh, 1225 17th Street, Suite 700,
Denver, Colorado 80202

cc: DEPARTMENT OF JUSTICE, U.S. ATTORNEY'S OFFICE, Kenneth M. Harmon, 1225 17th Street, Suite 700,
Denver, Colorado 80202

cc: David L. Owen, c/o UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, 901 19th Street,
Denver, Colorado 80924-3589

CERTIFICATE OF MAILING

I, Richard Kellogg Armstrong, certify this NOTICE OF DISHONOR was sealed in an envelope with First Class Postage
paid and deposited in a United States Postal Mail Box located in Unit J at F.C.I1. Lompoc 3600 Guard Road Lompoc,
California on January 26, 2014 c.f, for same day delivery to UNITED STATES DISTRICT COURT DISTRICT OF
COLORADO, Clerk of the Court, Re»m a-105, 901 19th Street, Denver, Colorado 80294-3589.

Richard Kellogg Arm ng
Case 1:10-cr-00317-REB Document 738-6 Filed 01/30/14 USDC Colorado Page 2 of 5

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Denver, Colorado 80294-3589

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Sixteen Month: Nine Year: 2013 C.E. in reply to your Presentment "Case 1:10-cr-—00317-REB
Document 370 Filed 12/30/11 USDC Colorado Page 1 of 4 Criminal Case NO. 10_CR-00317-REB
GOVERNMENT'S NOTICE OF SUPPLEMENTAL AUTHORITY CONCERNING DEFENDANT ARMSTORNG'S MOTION
FOR LEAVE TO FILE A MOTION FOR REHEARING FOR PRETRIAL RELEASE ON BOND PURSUANT TO 8TH
AMENDMENT 1, Page 2 of 4 2, Page 3 of 4 John F. Walsh Kenneth M. Harmon 3, Page 4 of

4 David L. Owen Richard Kellogg Armstrong Kenneth M. Harmon 4" has been Dishonored or

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Sincerely,

Richard Kellogg rmstfong Z>
c/o 20413-298

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Lompoc, California

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«> UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, Judge Robert E. Blackburn, 901 19th Street,

Denver, Colorado 80294-3589

cc: DEPARTMENT OF JUSTICE, U.S. ATTORNEY'S OFFICE, John F. Walsh, 1225 17th Street, Suite 700,
Denver, Colorado 80202

cc: DEPARTMENT OF JUSTICE, U.S. ATTORNEY'S OFFICE, Kenneth M. Harmon, 1225 17th Street, Suite 700,
Denver, Colorado 80202

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Denver, Colorado 80924-3589

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California on January,26, 2014 C.E. for same day delivery to UNITED STATES DISTRICT COURT DISTRICT OF
COLORADO, Clerk of the Court, Room A-105, 901 19th Street, Denver, Colorado 80294-3589.

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Richard Kellogg Armst 0)
NOTICE OF DISHONOR
Notice Date: Day Twenty-six Month:. One Year: 2014 C.E.

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

Clerk of the Court, Room A-105
901 19th Street

Denver, Colorado 80294-3589

PLEASE TAKE NOTICE that instrument "NON-NEGOTIABLE NOTICE OF ACCEPTANCE" dated Day:
Sixteen Month: Nine Year: 2013 C.E. in reply to your Presentment "Case 1:10-cr-—00317-REB
Document 417 Filed 02/24/12 USDC Colorado Page 1 of 2 Date: February 24, 2012 Criminal
Action No. 10-cr-00317-REB Kenneth Harmon David Owen COURTROOM MINUTES, Page 2 of 2"

has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

ei se-Ji Lege C), ey

Richard Kellogg Arths trorg

c/o 20413-298

Federal Correctional Institution
3600 Guard Road

Lompoc, California

cc: UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, 901 19th Street, Denver, Colorado 80294-3589

cc} UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, Judge Robert E. Blackburn, 901 19th Street,
Denver, Colorado 80294-3589

cc: DEPARTMENT OF JUSTICE, U.S. ATTORNEY'S OFFICE, Kenneth M. Harmon, 1225 17th Street, Suite 700,
Denver, Colorado 80202

cc: David L. Owen, c/o UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, 901 19th Street,
Denver, Colorado 80924-3589

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COLORADO, Clerk of the Court, Room A-105, 901 19th Street, Denver, Colorado 80294-3589.

Ply i th Lill Lp osx,

oo Kellogg A
Case 1:10-cr-00317-REB Document 738-6 Filed 01/30/14 USDC Colorado Page 4 of 5

NOTICE OF DISHONOR

Notice Date: Day Twenty-six Month: One Year: 2014 C.E.

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

Clerk of the Court, Room A-105
901 19th Street

Denver, Colorado 80294-3589

PLEASE TAKE NOTICE that instrument "NON-NEGOTIABLE NOTICE OF ACCEPTANCE” dated Day:
Sixteen Month: Nine Year: 2013 C.E. in reply to your Presentment "Case 1:10-cr-—00317-REB
Document 427 Filed 03/14/12 USDC Colrado Page 1 of 2 March 14, 2013 Criminal Action

No. 10-cr-00317-REB COURTROOM MINUTES, Page 2 of 2" had been dishonored or has not been
paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

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Az f pithse CL ccADr,
ong

Richard Kellogg Armstr a
c/o 20413-298

Federal Correctional Institution
3600 Guard Road

Lompoc, California

cc: UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, 901 19th Street, Denver, Colorado 80294-3589
Cc} UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, Judge Robert E. Blackburn, 901 19th Street,
Denver, Colorado 80294-3589

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COLORADO, Clerk ot the Court, Room A-105, 901 19th Street, Denver, Colorado 80294-3589.

Richard Kellogg A
Cc

NOTICE OF DISHONOR
Notice Date: Day Twenty-six Month: One Year: 2014 C.E.

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

Clerk of the Court, Room A-105
901 19th Street

Denver, Colorado 80294-3589

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Sixteen Month: Nine Year: 2013 C.E. in reply to your Presentment "Case 1:10-cr-—00317—-REB
Document 1 Filed 05/18/10 USDC Colorado Page 1 of 25 CRIMINAL COMPLAINT CASE NUMBER:
10-mj-1088-KLM Greg M. Flynn 5/18/10 Kristen L. Mix MAGISTRATE JUDGE, Page 2 of 25 1,
31,42, 53,64, 75, 86, 97, 10 8, 11 9, 12 10, 13 11, 14 12, 15 13, 16 14, 17

15, 18 16, 19 17, 20 18, 21 19, 22 20, 23 21, 24 22, Page 25 Greg M. Flynn 18th day

of May, 2010 Kristen L. Mix 23" has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performacne.

Sincerely,

g n ff
Richard Kellogg’ Armstrong )
c/o 20413-298
Federal Correctional Institution
3600 Guard Road

Lompoc, California

cc: UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, 901 19th Street, Denver, Colorado 80294-3589

cg: UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, Judge Robert E. Blackburn, 901 19th Street,
Denver, Colorado 80294-3589

cc} Kristen L. Mix, MAGISTRATE JUDGE, c/o UNITED STATES DISTRICT COURT DISTRICT OF COLORADO, 901 19th Street,
Denver, Colorado 80294-3589

cc: Greg M. Flynn, DEPARTMENT OF THE TREASURY, INTERNAL REVENUE SERVICE, 1999 BROADWAY, Suite 2700,
Denver, Colorado 80202

CERTIFICATE OF MAILING

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COLORADO, Clerk or tne Court, xoom A-105, 901 19th Street, Denver, Colorado 80294-3589.

x Dp , ; ;
Richard Kellogg Armstrong yy
